               SIXTH DISTRICT COURT OF APPEAL
                      STATE OF FLORIDA
                    _____________________________

                         Case No. 6D2023-0809
                   Lower Tribunal No. CF19-003602-XX
                    _____________________________

                           XYLENN THOMPKINS,

                                Appellant,

                                     v.

                            STATE OF FLORIDA,

                                 Appellee.

                    _____________________________

               Appeal from the Circuit Court for Polk County.
                         Sharon M. Franklin, Judge.

                             August 27, 2024

PER CURIAM.

     AFFIRMED.

TRAVER, C.J., and STARGEL and SMITH, JJ., concur.


Howard L. “Rex” Dimmig, II, Public Defender, and Stephania A. Valantasis,
Assistant Public Defender, Bartow, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Helene S. Parnes, Senior
Assistant Attorney General, Tampa, for Appellee.


 NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING
          AND DISPOSITION THEREOF IF TIMELY FILED
